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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORID A

                      CASE NO . 05-80807-CIV-COHN/SNOW


AIRTIME MANAGEMENT, INC . ,

              Plaintiff ,

V.


TIME TECHNOLOGIES, INC ., et al . ,
                                                                   ~ ; ,~,,• ;. m A D D O X
                                                                                            .
                                                            i;LC .~V U .S . nIST . CT
                                                                                  FT. LAUD .
              Defendants .                                 S .D . OF FLA .




                                 O R D E R

              THIS CAUSE is before the Court on counsel Peter

Veytsman's Motion to Appear          Pro Hac Vice   (DE 24) . Being fully

advised, it is hereby

              ORDERED AND ADJUDGED that the motion is GRANTED . Peter

Veytsman, Esquire, is hereby permitted to enter limited appearances

for purposes of representing the plaintiff Airtime Management, Inc .

in this cause ; Jeffrey Garber, Esquire, is designated as local

counsel .

              DONE AND ORDERED at Fort Lauderdale, Florida, thi s

            day of January, 2005 .


                                                       J                   .a ..f G

                                     LURANA S . SNO W
                                     UNITED STATES MAGISTRATE JUDG E

Copies to :

See Attached Service List
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                               SERVICE LIS T

                    CASE NO . 05 - 80807-CIV - COHN/SNO W


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Ms . Catherine Wade (MIA)
   Executive Service Administrato r




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